     Case 2:20-cv-11083-JVS-AS Document 18 Filed 04/28/21 Page 1 of 1 Page ID #:82



 1
 2
 3
 4
 5
 6
 7
                           UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10   Satish Steve Gupta,            )                 CV 20-11083JVS(ASx)
                                    )
11                                  )                 ORDER OF DISMISSAL UPON
                Plaintiff,          )
12                                  )                 SETTLEMENT OF CASE
           v.                       )
13                                  )
                                    )
14   Janet Woodcock, etc,           )
                                    )
15              Defendant(s).       )
                                    )
16   ______________________________ )
17
18         The Court having been advised by the counsel for the parties that the above-
19   entitled action has been settled,
20         IT IS ORDERED that this action be and is hereby dismissed in its entirety
21   without prejudice to the right, upon good cause being shown within 60 days, to reopen
22   the action if settlement is not consummated.
23
24   DATED: 4/28/21                                 ___________________________
25                                                     James V. Selna
                                                    United States District Judge
26
27
28
